4:08-cr-03025-RGK-CRZ             Doc # 76   Filed: 07/12/10    Page 1 of 1 - Page ID # 239




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:08CR3025
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
CONNE A. BARGER,                                )
                                                )
                     Defendant.                 )

       IT IS ORDERED that:

       (1)    The government’s oral request for hearing is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 72) has been set before the undersigned United States district judge on
Monday, July 19, 2010, at 1:30 p.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   The United States Marshal is directed to return the defendant to the district for
the hearing.

       Dated July 12, 2010.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
